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                              No. 23-3190


          IN THE UNITED STATES COURT OF APPEALS
           FOR THE DISTRICT OF COLUMBIA CIRCUIT


                     UNITED STATES OF AMERICA,
                                Appellee,
                                   vs.

                          DONALD J. TRUMP,
                               Appellants,


             Appeal from the United States District Court
                      for the District of Columbia


   BRIEF FOR AMICI CURIAE IOWA, WEST VIRGINIA, ALA-
   BAMA, ALASKA, IDAHO, INDIANA, KANSAS, KENTUCKY,
     LOUISIANA, MISSISSIPPI, MISSOURI, NEBRASKA,
     NORTH DAKOTA, OKLAHOMA, SOUTH CAROLINA,
   SOUTH DAKOTA, TEXAS, AND UTAH SUPPORTING DE-
               FENDANT AND REVERSAL


                                     BRENNA BIRD
                                     Attorney General of Iowa
                                     Eric H. Wessan
                                     Solicitor General
                                     1305 E. Walnut Street
                                     Des Moines, Iowa 50319
                                     (515) 823-9117
                                     (515) 281-4209 (fax)
                                     eric.wessan@ag.iowa.gov

            ATTORNEYS FOR AMICUS CURIAE STATES
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                     INTEREST OF AMICI STATES

        The States of Iowa, West Virginia, Alabama, Alaska, Idaho,

  Indiana, Kansas, Kentucky, Louisiana, Mississippi, Missouri, Mon-

  tana, North Dakota, South Carolina, South Dakota, Texas, Okla-

  homa, and Utah stand foursquare behind the protections of the

  First Amendment of the Constitution. No branch of government

  may abridge free speech. U.S. Const. amend. 1.

        That right is paramount when it comes to protected political

  speech. Indeed, “[p]olitical speech . . . is ‘at the core of what the First

  Amendment is designed to protect.’” Morse v. Frederick, 551 U.S.

  393, 403 (2007) (quoting Virginia v. Black, 538 U.S. 343, 365 (2003)

  (plurality opinion)); see Republican Party of Minn. v. White, 536

  U.S. 765, 793 (2002) (“The political speech of candidates is at the

  heart of the First Amendment, and direct restrictions on the con-

  tent of candidate speech are simply beyond the power of govern-

  ment to impose.”) (Kennedy, J., concurring); McCutcheon v. Fed.

  Election Comm’n, 572 U.S. 185, 228 (2014) (“Political speech is the

  primary object of First Amendment protection and the lifeblood of




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  a self-governing people.”) (Thomas, J., concurring in the judgment)

  (cleaned up).

        The district court here overstepped its role in issuing an

  overly broad order denying Defendant, President Donald J. Trump,

  from making public statements about “individuals involved in the

  judicial process.” Order (Dkt. 105), United States v. Trump, 2023

  WL 6818589, at *1 (D.D.C. Oct. 17, 2023). The court imposed “lim-

  ited restrictions on extrajudicial statements” that hinder and in-

  hibit the ongoing presidential campaign, particularly as applied to

  limiting President Trump’s ability to make statements about wit-

  nesses who are themselves part of that campaign. That overbroad

  Order—an order that a major United States presidential candidate

  mute himself on a major campaign issue—cannot survive any level

  of scrutiny.

        Beyond its overbreadth, the Order is impermissibly vague. By

  failing to articulate what it means to “target” the individuals the

  Order identifies, the Court’s prior restraint will unlawfully chill

  President Trump’s speech. Id. at *3.




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        Amici States are home to upcoming caucuses and primaries.

  As administrators of free and fair elections, we have an interest in

  ensuring no illegal prior restraint is entered against any major po-

  litical candidate. Indeed, our citizens have an interest in hearing

  from major political candidates in that election. The Order threat-

  ens the States’ interests by infringing on President Trump’s free

  speech rights.

        Accordingly, Amici States file this brief in support of Defend-

  ant under Federal Rule of Appellate Procedure 29(a)(2).

                             ARGUMENT

  I. Summary of Argument.
        Former President Donald Trump is the Republican front-run-

  ner for President of the United States. Even were he not, President

  Trump enjoys First Amendment rights to speak—and American cit-

  izens enjoy an essential right to hear what he has to say. President

  Trump is also currently the defendant in the underlying case.

        But that does not justify the district court’s slapping Presi-

  dent Trump with this prior restraint. Courts no doubt must ensure

  that they “take such steps by rule and regulation that will protect

  [their] processes from prejudicial outside interferences.” Order at



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  *1 (quoting Sheppard v. Maxwell, 384 U.S. 333, 363 (1966)). The

  record before the district court here, however, makes it doubtful

  that it could justify any restraint, much less this one, which is both

  too vague and too broad. Those twin deficiencies beg for this Court’s

  correction.

        First, while the district court correctly raised First Amend-

  ment concerns in its order, id. at *1, it misapplied the binding strict-

  scrutiny standard, which does not justify issuing a prior restraint

  against President Trump, see id. at *3. This overly broad order can-

  not survive any tailoring analysis.

        Second, the district court failed to meet the standards re-

  quired to ensure its order was clear enough to avoid being imper-

  missibly vague. Courts do “not presume that [restriction] curtails

  constitutionally protected activity as little as possible;” rather, they

  must scrupulously ensure that is so. NAACP v. Button, 371 U.S.

  415, 432 (1963).

        Finally, the presidential campaign is in full swing. Iowa’s

  first-in-the-nation caucuses are 62 days away—two months from




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  the filing of this brief. As Americans turn their attention to the up-

  coming presidential election, there should be special care taken to

  ensure that they can judge the candidates on their own merits. En-

  tering a prior restraint that may limit a candidate’s ability to cam-

  paign must meet the exacting standards.

  II. The district court did not narrowly tailor its prior re-
      straint to prevent imminent threats against individuals
      that would interfere with the administration of justice.

        The order prevents “all interested parties,” including “the par-

  ties and their counsel,” from “making any public statements, or di-

  recting others to make any public statements, that target” the pros-

  ecution team, defense counsel, court staff, or “any reasonably fore-

  seeable witness or the substance of their testimony.” Order at *3

  (emphases added). It purports to find that President Trump—and

  his counsel—pose a “significant and immediate risk” of prejudicing

  the ongoing legal process. Id. at *1. In so doing, the Order fails to

  be the “least restrictive means to further” the Government’s com-

  pelling interest. Wagner v. FEC, 793 F.3d 1, 5 (D.C. Cir. 2015) (quot-

  ing McCutcheon, 572 U.S. at 197). Thus, it fails to satisfy strict scru-

  tiny. Id. The district court’s analysis falls short and prohibits too




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   much speech. The short order also elides the complexity of this issue

   and fails to justify itself. This Court should reverse.


   III. The order does not satisfy the strict scrutiny required
      to justify prior restraints.
        “[P]rior restraints on speech and publication are the most se-

   rious and the least tolerable infringement on First Amendment

   rights.” Nebraska Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976).

   Restricting speech about ongoing judicial proceedings requires

   showing a “clear and present danger to the administration of jus-

   tice.” Landmark Commc’ns, Inc. v. Virginia, 435 U.S. 829, 844

   (1978). Indeed, Nebraska Press rejected prior restraints imposed on

   press coverage of a high-profile murder trial—even at the risk of

   prejudicing a small-town jury pool. Nebraska Press, 427 U.S. at 562.

        The party seeking such a restrictive order pending a criminal

   trial bears “the heavy burden of demonstrating, in advance of trial,

   that without prior restraint a fair trial will be denied.” Id. at 569.

   That heavy evidentiary burden must be met for an order to issue.

   Where the record lacks “evidence to support” such an order, it will

   not be upheld. Id. at 565; see Landmark, 435 U.S. at 843.




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        In holding the already-narrowed restraint in Nebraska Press

   unconstitutional, the Supreme Court set forth three factors govern-

   ing whether a prior restraint is justified: (1) whether that publicity

   would “impair the defendant’s right to a fair trial;” (2) whether

   “measures short of an order” of restraint might have impaired a fair

   trial; and (3) whether the restraint would be effective in ensuring a

   fair trial. Id. at 562–66. Weighing those factors, the Court could not

   determine “that the restraining order actually entered would serve

   its intended purpose,” id. at 569. It held that the Nebraska Supreme

   Court failed to demonstrate “the degree of certainty our cases on

   prior restraint require.” Id. Finding the evidence to support the re-

   straint wanting, the Court concluded that while “the guarantees of

   freedom of expression are not an absolute prohibition under all cir-

   cumstances . . . the heavy burden imposed as a condition to securing

   a prior restraint was not met.” Id. at 570.

        The Sixth Circuit, too, employed the “clear and present dan-

   ger” test when considering whether a politician-defendant could ex-

   press himself outside the courtroom. United States v. Ford, 830 F.2d




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   596, 598 (6th Cir. 1987). The court held that the defendant, a Dem-

   ocrat, was entitled to “attack the alleged political motives of the Re-

   publican administration which he claims is persecuting him be-

   cause of his political views and his race.” Id. at 600–01.

        The Sixth Circuit recognized that “separation of powers—a

   unique feature of our constitutional system designed to insure that

   political power is divided and shared—would be undermined if the

   judicial branch should attempt to control political communication

   between a congressman and his constituents.” Id. at 601. A politi-

   cian’s role “includes communications with the electorate.” Id. (citing

   United States v. Brewster, 408 U.S. 501, 524 (1972)).

        Here, the Order was imposed after the case against President

   Trump had been pending for almost three months. See United

   States v. Trump, No. 23-3190, Doc. 2025149, at *17. The prosecu-

   tion introduced no evidence that any group protected by the entered

   order—prosecutor, witness, or court staff—experienced threats or

   harassment following any of President Trump’s “communications

   with the electorate.” Id. The Court found the Government intro-

   duced “[u]ndisputed testimony” that “when Defendant has publicly




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   attacked individuals, including on matters related to this case,

   those individuals are consequently threatened and harassed.” Or-

   der at *2.

        Fair enough. But the Court’s abbreviated analysis did not con-

   nect President Trump’s public pronouncements to the attacks. Un-

   like criminal defendants in a standard case, there is significant na-

   tional media attention and analysis that follow any of President

   Trump’s statements. To justify a prior restraint the Court must

   more thoroughly explain why it believes President Trump is caus-

   ing the harassment here. Even if the prior restraint issued, there is

   no “degree of certainty” that the Order’s prior restraint will work.

   See Nebraska Press, 427 U.S. at 569. Without any evidence—much

   less compelling evidence—the Order must fail strict scrutiny.

        Moreover, a prior restraint against “any reasonably foreseea-

   ble witness or the substance of their testimony” goes too far. See

   Order at *3. At least one potential witness is now campaigning for

   the Republican nomination against President Trump. Other poten-

   tial witnesses are speaking about President Trump’s candidacy.

   And multiple candidates campaigning against him have invoked




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   the criminal charges against President Trump. But under the dis-

   trict court’s prior restraint, President Trump’s responses are forbid-

   den. That cannot be the narrowest possible ground that ensures the

   fair administration of justice.

        The Sixth Circuit’s admonitions against a district court’s in-

   tervening between a politician and his constituents were prescient.

   See Ford, 830 F.2d at 600–602. President Trump is actively cam-

   paigning for—is the leading Republican candidate for—the presi-

   dency. The district court’s broad order interrupts President

   Trump’s right to “communicat[e] with the electorate.” Id. at 602.

   This case—the propriety of bringing it, the motives for doing so, and

   the process the Biden Administration continues to employ in pur-

   suing it—is a central issue in his reelection campaign. And rather

   than protect President Trump’s ability to discuss that issue on the

   campaign trail, the district court’s prior restraint muzzles him. This

   Court should reverse.

   IV. The Order is too vague to satisfy the strict scrutiny re-
     quired to justify prior restraints.

        Even more concerning than the Order’s overbreadth is its

   vagueness. As explained above, the Order prevents President



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   Trump and his counsel from “making any public statements . . .

   that target” four broad categories of persons. Order at *3. Court or-

   ders “founded upon a decree too vague to be understood” are imper-

   missible. See Int’l Longshoremen’s Ass’n, Loc. 1291 v. Phila. Marine

   Trade Ass’n, 389 U.S. 64, 76 (1967). The Order has problems both

   with what it prevents President Trump from doing—targeting—

   and with the ill-defined objects of its protection.

        “[E]lementary considerations of fairness dictate that individ-

   uals should have an opportunity to know what the law is and to

   conform their conduct accordingly.” NetworkIP, LLC v. FCC, 548

   F.3d 116, 123 (D.C. Cir. 2008) (cleaned up) (quoting Landgraf v.

   USI Film Prods., Inc., 511 U.S. 244, 265 (1994)). Those fairness con-

   siderations have been “well-established for ‘centuries.’” Id. Indeed,

   the Supreme Court rejected as unconstitutionally vague the word

   “implicative” in Nebraska Press. 427 U.S. at 568.

        Just like “implicative,” the meaning of “target” is unclear. It

   could mean “a mark to shoot at” or “something or someone marked

   for attack;” it could also mean “a goal to be achieved,” “an object of




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   ridicule or criticism,” or “someone to be affected by an action or de-

   velopment,” among other meanings. Target, Merriam-Webster

   Online, at https://www.merriamwebster.com/dictionary/target. The

   district court must give President Trump clarity as to what, pre-

   cisely, is prohibited or else it fails to give the fair warning the Con-

   stitution requires. Without that fair warning, it is almost certain to

   impermissibly chill his political speech. See Grayned v. City of Rock-

   ford, 408 U.S. 104, 108–09 (1972) (listing ways in which impermis-

   sible vagueness can run amuck).

        Beyond the slipperiness of “target,” the Order also has a prob-

   lem with its objects. The Order forbids President Trump from “tar-

   get[ing]” a potential witness—even a potential caucus opponent—

   by identifying him or calling for his voters to vote against him. Or-

   der at *3. But it is unclear who the universe of potential “reasonably

   foreseeable witness[es]” includes. Id.

         The Order’s vagueness here restricts speech by inevitably

   leading President Trump and his counsel “to steer far wider of the

   unlawful zone than if the boundaries of the forbidden areas were




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   clearly marked.” Grayned, 408 U.S. at 109 (cleaned up). That “in-

   hibit[s] the exercise of” First Amendment guaranteed freedoms. Id.

   And that is why courts require that such prior restraints cannot

   simply tell a party to “obey the law.” Burton v. City of Belle Glade,

   178 F.3d 1175, 1201 (11th Cir. 1999) (quoting Payne v. Travenol

   Labs., Inc., 656 F.2d 895, 898 (5th Cir. 1978)).

        What the Order prohibits is so vague that it shades into self-

   contradiction. The order simultaneously forbids President Trump,

   for example, from making statements that target potential wit-

   nesses—like Vice President Pence—and then explicitly says that

   President Trump may “criticiz[e] the campaign platforms or policies

   of Defendant’s current political rivals, such as former Vice Presi-

   dent Pence.” Order at *3. President Trump must carefully parse his

   every word to avoid mention of the possible substance of Vice Pres-

   ident Pence’s possible testimony. But only the federal government

   and Vice President Pence know what is in Vice President Pence’s

   potential testimony, should he even be a witness.

        For another example, the Order allows President Trump to

   criticize “the government generally” including “the Department of




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   Justice,” which is, according to the Order, different from “targeting”

   the court or the special counsel. Id. How can that be?

         Fear of failure to comply with the Order while also speaking

   on matters of political importance during a campaign is an almost

   axiomatic example of a court order that can chill speech. The Or-

   der’s subjects cannot know what is fair criticism and what crosses

   into contempt. Is the line drawn at President Trump identifying

   members of “the government generally” by name or position? Is he

   prohibited from making statements about the weakness of the case

   against him because that “targets” the special counsel or a witness’s

   testimony? Is he entitled to talk about how accusations (without

   specifying the source) are wrong or fail to tell the whole story, or is

   that a comment on testimony or a witness? Requiring someone to

   ask those questions answers whether that person’s speech is

   chilled.

         The risk of “ad hoc and subjective” enforcement is too high.

   Grayned, 408 U.S. at 109. This Court should reverse the Order as

   impermissibly vague.




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   V. Interference with the ongoing presidential election
      weighs against a prior restraint in general and against
      this vague, overbroad order in general.
         The Order effectively prohibits President Trump from dis-

   cussing a major campaign issue only two months before the Iowa

   caucuses—with Super Tuesday a mere six weeks after that. The

   citizens of our States have a right to hear from the candidates on

   important issues—including when one of those issues is an ongoing

   prosecution against that candidate.

         Many officials engage in the rough-and-tumble of politics. Al-

   ready there have been circumstances where overzealous federal

   government action has led to stifling of state elected officials’ voices.

   Missouri v. Biden, 83 F.4th 350, 371–72 (5th Cir. 2023), cert.

   granted sub nom. Murthy v. Missouri, No. 23-411 (U.S. Oct. 20,

   2023). The risk that follows upholding the Order of future prior re-

   straints issued against political candidates in other contexts is

   deeply unsettling. Political opponents and opportunistic litigators

   may seek to stymie debate by relying on the precedent set here.

   Such an outcome would be an unwelcome burden on the democratic

   process.




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         Elections—including primary elections—are a prime oppor-

   tunity for elected officials to hear from their constituents. Recently,

   the Fifth Circuit explained the importance of a limited “right to

   hear” constituents. Id. at 373. Issuing a prior restraint against a

   candidate means that constituents cannot hear how the candidate

   will reply to a given issue of concern.

         Relevant here, the Fifth Circuit recognized that restricting

   officials’ speech obstructs their “crucial interest in listening to their

   citizens.” Id. When the “federal government coerces or substantially

   encourages third parties to censor certain viewpoints, it hampers

   the states’ right to hear their constituents and, in turn, reduces

   their ability to respond to the concerns of their constituents.” Id. So

   if President Trump wants to weigh in on a subject covered by the

   prior restraint and is restrained from doing so, his constituents will

   be denied by the federal government an opportunity to have him

   listen.

         The presidential election is a key component in our demo-

   cratic republic. A prior restraint on a major party candidate in a

   primary—much less a potential general election candidate—stands




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   just as likely to inhibit communication between constituents and

   officials. President Trump is being restrained from discussing mat-

   ters of importance with his potential constituents—and the States

   are being prohibited from learning from those conversations about

   potential matters of importance.

        Given the magnitude—in importance and effect—of such an

   overly broad and vague prior restraint on President Trump’s

   speech, this Court should reverse.

                            CONCLUSION

        This Court should reverse.

                                      Respectfully submitted,

                                      BRENNA BIRD
                                      Attorney General of Iowa

                                      /s/ Eric H. Wessan
                                      ERIC H. WESSAN
                                      Solicitor General
                                      1305 E. Walnut Street
                                      Des Moines, Iowa 50319
                                      (515) 823-9117
                                      (515) 281-4209 (fax)
                                      eric.wessan@ag.iowa.gov

                                      ATTORNEYS FOR
                                      AMICI CURIAE




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                 CERTIFICATE OF COMPLIANCE

        This brief complies with the type-volume limitation of Fed. R.

   App. P. 29(a)(4)(G) and 32(g)(1) because, excluding the parts of the
   brief exempted by Fed. R. App. P. 32(f), this document contains
   2,925 words. It also complies with the typeface requirements of Fed.
   R. App. P. 32(a)(5) and the type-style requirements of Fed. R. App.
   P. 32(a)(6) because this brief has been prepared in a proportionally
   spaced typeface using Microsoft Word in 14-point Century School-
   book font.

                                           /s/ Eric H. Wessan
                                           Solicitor General


                     CERTIFICATE OF SERVICE

        The undersigned certifies that on the fifteenth day of Novem-
   ber 2023, this brief was electronically filed with the Clerk of Court
   using the CM/ECF system, which will serve all counsel of record.

                                           /s/ Eric H. Wessan
                                           Solicitor General




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                     Counsel for Additional Amici States

   PATRICK MORRISEY                      MICHAEL T. HILGERS
   Attorney General of                   Attorney General of Nebraska
   West Virginia
                                         DREW WRIGLEY
   TREG TAYLOR                           Attorney General of
   Attorney General of Alabama           North Dakota

   STEVE MARSHALL                        GENTNER DRUMMOND
   Attorney General of Alabama           Attorney General of
                                         Oklahoma
   RAÚL R. LABRADOR
   Attorney General of Idaho             ALAN WILSON
                                         Attorney General of
   THEODORE E. ROKITA                    South Carolina
   Attorney General of Indiana
                                         MARTY JACKLEY
   KRIS KOBACH                           Attorney General of South
   Attorney General of Kansas            Dakota

   DANIEL CAMERON                        KEN PAXTON
   Attorney General of Kentucky          Attorney General of Texas

   JEFF LANDRY                           SEAN D. REYES
   Attorney General of Louisiana         Attorney General of Utah

   LYNN FITCH
   Attorney General of Missis-
   sippi

   ANDREW T. BAILEY
   Attorney General of Missouri

   AUSTIN KNUDSEN
   Attorney General of Montana




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